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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

               Plaintiffs,
                                                    Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.,

               Defendants.


     NOTICE OF SUBMISSION OF SUPPLEMENTAL EXCERPTS OF THE
 ADMINISTRATIVE RECORD RELIED UPON BY THE FEDERAL DEFENDANTS

        The federal defendants hereby file copies of supplemental excerpts of the administrative

record. The federal defendants relied on these additional excerpts in their reply memorandum in

support of their motion to dismiss, or in the alternative, for summary judgment. See ECF No. 64, 65.



        Dated: May 25, 2018                       Respectfully submitted,

                                                 CHAD A. READLER
                                                 Acting Assistant Attorney General

                                                 ETHAN P. DAVIS
                                                 Deputy Assistant Attorney General

                                                 JOEL McELVAIN
                                                 Assistant Branch Director
                                                 Federal Programs Branch

                                                 /s/ Vinita Andrapalliyal                    -
                                                 VINITA ANDRAPALLIYAL
                                                 DEEPTHY KISHORE
                                                 Trial Attorneys
                                                 U.S. Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 20 Massachusetts Avenue, N.W.
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                              Washington, D.C. 20530
                              (202) 305-0845 (telephone)
                              Vinita.b.andrapalliyal@usdoj.gov

                              Counsel for the Federal Defendants
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 Table of Federal Defendants’ Supplemental Excerpts from the Administrative Record
              Stewart, et al., v. Azar, et al., Civ. No. 18-152-JEB (D.D.C.)

                                                              Pages
                                                                            Page where
                                                            (Original
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Excerpt                                                    Numbering
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10      Robert Wood Johnson Found., How Does               5072–83     22
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